        Case 4:18-cv-11451-LVP-EAS ECF No. 22 filed 06/29/18                          PageID.954          Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District of __________
                                             __________             Michigan


                       Speech First Inc.                       )
                             Plaintiff                         )
                                v.                             )      Case No. 4:18-cv-11451-LVP-EAS
                         Schlissel et al                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiff Speech First Inc.                                                                                    .


Date:          06/29/2018                                                                s/ Jeffrey M. Harris
                                                                                         Attorney’s signature


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